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UNITED STA TES DISTRICT coURT m BY--- -_---M~
WESTERN DISTRICT OF TENNES§._,B:G_ _| m 13 53

 

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GAILE K. OWENS, JUDGMENT IN A CIVIL CASE
Plaintiff,
V.
EARLINE GUIDA, WARDEN, CASE NO: 00-2765-B

Tennessee Prison For Women,

Respondent.

 

DECISION BY COURT. This action came to consideration before the Court. The issues have been
considered and a decision has been rendered.

IT IS SO ORDERED AND ADJUDGED that in accordance with the Order Granting In Part
Respondent’s First Motion For Partial Summary Judgment entered on June 23, 2005, and with
the Order Granting In Part Respondent’s First Motion For Partial Summary Judgmeot And
Denying Petitioner’s Motion For Summary Judgment entered on 3/28/05, this cause is hereby
dismissed.

 

Tl~WAS M. (K)U.D
Clerk of Court

 

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This document entered on the docket sheet in compttance d g
with Rule 58 end/or 79{3) FHCP on ' M

  

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Honorable J. Breen
US DISTRICT COURT

